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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA,                       )
                                                      )
 8                               Plaintiff,           )
 9                         vs.                        )
                                                      )               CR05-393 JCC
10
      RUPINDER SINGH GILL,                            )
11                                                    )
                                 Defendant.           )            MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
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15
            Pursuant to information received from counsel, and at counsel’s request, the Ex Parte
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     Motion filed May 9, 2006 (dkt #116 ) is hereby STRICKEN as Moot.
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23                                Dated this 2nd day of June , 2006
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25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
